         Case 4:22-cv-03158 Document 14 Filed on 12/15/22 in TXSD Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ROGDRICK MANOR,                                  §
    Plaintiff,                                   §
                                                 §
vs.                                              §      CIVIL ACTION NO. 4:22-CV-03158
                                                 §
                                                 §
SELENE FINANCE, LP, and                          §
U.S. BANK TRUST, NATIONAL,                       §
ASSOCIATION, not in its Individual               §
Capacity but solely as owner trustee             §
for RCF 2 Acquisition Trust c/o U.S.             §
Bank Trust National Association,                 §
      Defendants.                                §
                                                 §

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          COME NOW Plaintiff Rogdrick Manor (“Plaintiff”) and Selene Finance, LP and U.S.

Bank Trust, National Association, not in its individual capacity but solely as owner trustee for

RCF 2 Acquisition Trust (“Defendants,” collectively with Plaintiff, the “Parties”), pursuant to

Rule 41 of the Federal Rules of Civil Procedure, and hereby stipulate to the dismissal of

Plaintiff’s claims, with prejudice, and state as follows:

          Plaintiff and Defendants have settled the above captioned matter and seek a full and final

dismissal of all claims, with prejudice. Each Party will bear his or its own attorneys’ fees and

costs.

          WHEREFORE, the Parties jointly pray for the entry of an Order of Dismissal as

pursuant to the provisions hereof, with each Party to bear his or its own cost relative thereto.
    Case 4:22-cv-03158 Document 14 Filed on 12/15/22 in TXSD Page 2 of 2




DATED: December 15, 2022                 Respectfully submitted,

                                         By: /s/ Kathryn Davis
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                                         Attorney for Defendants Selene Finance,
                                         LP and U.S. Bank, N.A.

                                      - AND –

                                         By: /s/ Kimberly R. Bennett
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                                         Attorneys for Plaintiff
